Case 1:05-cr-10026-.]DT Document 13 Filed 08/15/05 Page 1 of 2 PagelD 14

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D.C.`

 

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UN!TED STATES OF AMER|CA,

 

P|alntiff,
V. Cr. NO. 05-10026-`1'
MARK |`\/ICCURRY,

Defendant.

 

ORDER ON ARRAlGNMENT

 

This cause came to be heard on August 15, 2005. The /-\ssistant United States Attorney
appeared on behalf of the governmentl and the defendant appeared in person and with the
following counsel, Who is retained/appointed:

NAl\/lE: Dianne Smothers, Asst. Federal Defender
ADDRESS:

TELEPHONEZ

The defendant, through counse|, Waived formal arraignment and entered a plea of not
guilty.

A|l motions shall be filed Within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

The defendant, Who is not in custody, may stand on his/her present bond.

The defendant (not having made bond) (being a state prisoner) )(being a federal
prisoner) (being held Without bond pursuant to BRA of 1984), is remanded to the custody of the

 

U. S. l`\/iarshal.
c_/§/hm/tr fga_~
S. THOMAS ANDERSON
United States l\/lagistrate Judge
Charges: counterfeiting

Assistant U.S. Attorney assigned to case: Powe||
Rule 32 Was: Waived if not Waived.

Defendant's age; off

This document entered on the docket sheet in compliance
with sure 55 and/or sz(b) FRch on @&’ ![F ~ 05

DISTRIC COURT - WESERNT D"'TRCT 0 TESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 13 in
case 1:05-CR-10026 Was distributed by faX, mail, or direct printing on
August 16, 2005 to the parties listed.

 

 

M. Dianne Smothers

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J ames W. PoWell

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

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Honorable J ames Todd
US DISTRICT COURT

